902 F.2d 44
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.B &amp; K CONSTRUCTION CO., Appellant,v.The UNITED STATES, Appellee.
    No. 89-1634.
    United States Court of Appeals, Federal Circuit.
    April 9, 1990.
    
      ARCHER and MICHEL, Circuit Judges, and L.T. SENTER, Jr., Chief Judge*:
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  Fed.Cir.R. 36.
    
    
      
        *
         Honorable L.T. Senter, Jr., Chief Judge, United States District Court for the Northern District of Mississippi, sitting by designation
      
    
    